                EXHIBIT A




Case 2:24-cv-00757-BHL Filed 06/18/24 Page 1 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 2 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 3 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 4 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 5 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 6 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 7 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 8 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 9 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 10 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 11 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 12 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 13 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 14 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 15 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 16 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 17 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 18 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 19 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 20 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 21 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 22 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 23 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 24 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 25 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 26 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 27 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 28 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 29 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 30 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 31 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 32 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 33 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 34 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 35 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 36 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 37 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 38 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 39 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 40 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 41 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 42 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 43 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 44 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 45 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 46 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 47 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 48 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 49 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 50 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 51 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 52 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 53 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 54 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 55 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 56 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 57 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 58 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 59 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 60 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 61 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 62 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 63 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 64 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 65 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 66 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 67 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 68 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 69 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 70 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 71 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 72 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 73 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 74 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 75 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 76 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 77 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 78 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 79 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 80 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 81 of 82 Document 1-1
Case 2:24-cv-00757-BHL Filed 06/18/24 Page 82 of 82 Document 1-1
